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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 16cv22471
                          (CASE NO.: 08-20464-CR-HUCK)

  PAUL VERNON
           Movant,

  v.


  UNITED STATES OF AMERICA,
              Respondent.
  _____________________________/

       MOTION TO CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255
        AND MEMORANDUM OF LAW IN SUPPORT AND REQUEST FOR
                       IMMEDIATE RELEASE

        Paul Vernon, through undersigned counsel, respectfully moves this Court to

  correct his sentence, pursuant to 28 U.S.C. § 2255, and states:

  1.    On August 5, 2008, after a jury trial, Paul Vernon was found guilty of Counts

        1,2,3,4 and 6 of the 6 count indictment. (D.E. 52) Count 1 charged him with

        armed bank robbery on April 11, 2008, in violation of 18 U.S.C. § 2113(a)(d).

        Count 2 charged him with the use and carrying of a firearm in

        relation to a crime of violence and possession of a firearm in

        furtherance of a crime of violence on April 11, 2008, in violation of 18

        U.S.C. § 924(c)(1)(A). Count three charged him with bank robbery on April

        21, 2008, in violation of 18 U.S.C. § 2113(a). He was convicted of a lesser

        included offense of bank robbery without a dangerous weapon on April 28,

        2008, in Count 4 in violation of 18 U.S.C. § 2113(a).   Vernon was found not



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        guilty as to Count 5 that charged him with use a carrying of a firearm in

        relation to a crime of violence and possession of a firearm in furtherance of a

        crime of violence, a bank robbery on April 28, 2008, in violation of 18 U.S.C. §

        924(c)(1)(A).   Count 6 charged him with being a felon in possession of a

        firearm and ammunition on May 14, 2008, in violation 18 U.S.C. § 922(g)(1).

  2.    On October 24, 2008, Paul Vernon was sentenced to a term of 180 months

        imprisonment. (D.E. 67) The term consist of ninety-six (96) months as to each

        of Counts 1, 3, 4 and 6 to be served concurrently with each other and eighty-

        four (84) months as to Count 2, to be served consecutively to the terms

        imposed in counts 1, 3, 4, and 6. (D.E. 68).

  3.    Paul Vernon now requests relief in light of the Supreme Court’s decision in

        Johnson v. United States, 576 U.S. __, 135 S. Ct. 2551 (June 26, 2015), which

        held   that     the   ACCA’s   “residual   clause”   in   §    924(e)(2)(B)(ii)   is

        unconstitutionally vague.

  4.    Application of Johnson to this case demonstrates that Paul Vernon is actually

        innocent of Count 2 the § 924(c) count, because Bank Robbery no longer

        qualifies as a predicate “crime of violence.”

  5.    Accordingly, Paul Vernon is entitled to relief under § 2255.

  6.    Because Paul Vernon has served in excess of what the statutory maximum

        would be without the § 924(c) counts and is currently serving an illegal

        sentence, he respectfully requests that the Court expedite this matter, order

        his immediate release, or at minimum, an immediate, unsecured bond.



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                              PROCEDURAL HISTORY

        On May 29, 2008, Paul Conrad Vernon was indicted in a six count indictment

  that charged him with two separate bank robberies. (D.E. 9) On August 5, 2008,

  after a jury trial, Paul Vernon was found guilty of Counts 1,2,3,4 and 6 of the 6

  count indictment. (D.E. 52) Count 1 charged him with armed bank robbery on April

  11, 2008, in violation of 18 U.S.C. § 2113(a)(d). Count 2 charged him with the use

  and carrying of a firearm in relation to a crime of violence and possession of a

  firearm in furtherance of a crime of violence on April 11, 2008, in violation of 18

  U.S.C. § 924(c)(1)(A). Count three charged him with bank robbery on April 21,

  2008, in violation of 18 U.S.C. § 2113(a). He was convicted of a lesser included

  offense of bank robbery without a dangerous weapon on April 28, 2008, in Count 4

  in violation of 18 U.S.C. § 2113(a). Vernon was found not guilty as to Count 5 that

  charged him with use a carrying of a firearm in relation to a crime of violence and

  possession of a firearm in furtherance of a crime of violence, a bank robbery on April

  28, 2008, in violation of 18 U.S.C. § 924(c)(1)(A). Count 6 charged him with being a

  felon in possession of a firearm and ammunition on May 14, 2008, in violation 18

  U.S.C. § 922(g)(1).

        On October 24, 2008, Paul Vernon was sentenced to a term of 180 months

  imprisonment. (D.E. 67) The term consist of ninety-six (96) months as to each of

  Counts 1, 3, 4 and 6 to be served concurrently with each other and eighty-four (84)

  months as to Count 2, to be served consecutively to the terms imposed in counts 1,

  3, 4, and 6. (D.E. 68).



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        No appeal was filed in the case. On August 3, 2009, Mr. Vernon filed a

  Motion to Vacate under 28 U.S.C. § 2255. (D.E. 73). However, on March 3, 2010,

  based on Mr. Vernon’s motion for voluntary dismissal, this motion to vacate was

  dismissed without prejudice. (D.E. 14). Therefore, Paul Vernon is still permitted to

  file an initial motion under 28 U.S.C. § 2255.




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                               GROUNDS FOR RELIEF

        Paul Vernon is actually innocent of his § 924(c) conviction and sentence. As

  an initial matter: Paul Vernon’s claim is cognizable on collateral review; Johnson

  applies retroactively to this case; and Paul Vernon’s claim is timely.

  I.    Paul Vernon’s Claim is Cognizable Under § 2255

        Title 28 U.S.C. § 2255(a) authorizes a federal prisoner claiming “that [his]

  sentence was imposed in violation of the Constitution . . . [to] move the court which

  imposed the sentence to vacate, set aside or correct the sentence.” 28 U.S.C. §

  2255(a). Paul Vernon claims that his § 924(c) conviction and resultant consecutive

  sentence violate due process. This constitutional claim is cognizable in a § 2255

  motion under § 2255(a).

        In addition, the Supreme Court has squarely held that, where a defendant is

  convicted and punished for an offense that the law does not make criminal, he has a

  claim that is cognizable under 28 U.S.C. § 2255. Davis v. United States, 417 U.S.

  333, 346-47 (1974) (“If this contention is well taken, then Davis' conviction and

  punishment are for an act that the law does not make criminal. There can be no

  room for doubt that such a circumstance inherently results in a complete

  miscarriage of justice and present(s) exceptional circumstances that justify

  collateral relief under s 2255. Therefore, although we express no view on the merits

  of the petitioner's claim, we hold that the issue he raises is cognizable in a s 2255

  proceeding.”) (quotation marks omitted).




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  II.    Paul Vernon’s Motion is Timely

         As relevant here, § 2255 imposes a one-year statute of limitations that runs

  from “the date on which the right asserted was initially recognized by the Supreme

  Court, if that right has been newly recognized by the Supreme Court and made

  retroactively applicable to cases on collateral review.” 28 U.S.C. § 2255(f)(3). That

  date runs from the date the Supreme Court recognizes the new right. Dodd v.

  United States, 545 U.S. 343, 360 (2005).

         Paul Vernon’s motion is timely under § 2255(f)(3). In declaring the ACCA’s

  residual clause unconstitutionally vague, Johnson recognized a new right because

  that result was not “dictated by precedent” at the time Paul Vernon’s conviction

  became final. See Howard v. United States, 374 F.3d 1068, 1073–74 (11th Cir.

  2004). To the contrary, the Supreme Court itself, as well as the Eleventh Circuit,

  had repeatedly rejected vagueness challenges to the residual clause. Sykes v. United

  States, 564 U.S. 1 (2011); James v. United States, 550 U.S. 192, 210 n. 6 (2007);

  United States v. Gandy, 710 F.3d 1234, 1239 (11th Cir. 2013). And, as explained

  above, Johnson applies retroactively because it is a substantive rule.

         Therefore, Paul Vernon has one year from the date Johnson was decided—

  June 26, 2016—to seek relief. See Dodd v. United States, 545 U.S. 343, 360 (2005).

  Thus, this motion is timely under § 2255(f)(3).

  III.   Johnson Applies Retroactively to this Case

         In Welch v. United States, the Supreme Court squarely held that “Johnson

  announced a substantive rule that has retroactive effect in cases on collateral



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  review.” 578 U.S. at __, 136 S. Ct. 1257, 1268 (2016); see id. at 1265 (“the rule

  announced in Johnson is substantive”); Mays v. United States, 817 F.3d 728, 736

  (11th Cir. 2016) (concluding even before Welch that “Johnson is retroactive because

  it qualifies as a substantive rule . . . since it narrows the class of people that may be

  eligible for a heightened sentence under the ACCA.”). And the Supreme Court has

  held that decisions narrowing the reach of § 924(c) are substantive rules that apply

  retroactively. Bousley v. United States, 523 U.S. 614, 620-21 (1998). Thus, there

  can be little dispute that Johnson applies retroactively to this case.

  IV.   The categorical and modified categorical approach

        Before explaining why Paul Vernon is actually innocent of his § 924(c)

  conviction and sentence, it is necessary to briefly set out the governing analytical

  framework. That framework, summarized below, was refined most recently in

  Descamps v. United States, 133 S. Ct. 2275 (2013), which is “the law of the land”

  and “must be . . . followed.” United States v. Howard, 73 F.3d 1334, 1344 n.2 (11th

  Cir. 2014).

        As is the case in determining whether a predicate offense qualifies as a

  “violent felony” under the ACCA, in determining whether a predicate offense

  qualifies as a “crime of violence” for purposes of a conviction under 18 U.S.C. §

  924(c), this Court must apply the “categorical approach.” Under that approach,

  “courts may ‘look only to the statutory definitions’—i.e., the elements—of a

  defendant’s prior offenses, and not ‘to the particular facts underlying those

  convictions.’” Descamps, 133 S. Ct. at 2283 (quoting Taylor v. United States, 495



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  U.S. 575, 600 (1990)). In adopting this approach, the Supreme Court emphasized

  both Sixth Amendment concerns (explained below) and the need to avert “‘the

  practical difficulties and potential unfairness of a [daunting] factual approach.’” Id.

  at 2287 (quoting Taylor, 495 U.S. at 601). As a result, courts must “look no further

  than the statute and judgment of conviction.” United States v. Estrella, 758 F.3d

  1239, 1244 (11th Cir. 2014) (citation omitted). And, in doing so, they “must presume

  that the conviction ‘rested upon nothing more than the least of the acts’

  criminalized.” Moncrieffe v. Holder, 133 S. Ct. 1678, 1684 (2011) (quoting Johnson v.

  United States, 559 U.S. 133, 137 (2010)).

        Because Johnson has voided the residual clause in 18 U.S.C. § 924(c)(3)(B)

  for the reasons detailed below, a predicate conviction will continue to qualify as a

  “crime of violence” after Johnson only if it satisfies the elements clause in §

  924(c)(3)(A). The Eleventh Circuit has extended Descamps’ methodology beyond the

  enumerated offenses provision at issue in that case, to the elements clause in both

  the ACCA and Sentencing Guidelines – which are worded identically to each other,

  and almost identically to §924(c)(3)(A). Looking no further than the statute and

  judgment of conviction, the Eleventh Circuit has held, a conviction will therefore

  qualify as a predicate within the elements clause “only if the statute on its face

  requires the government to establish, beyond a reasonable doubt and without

  exception, an element involving the use, attempted use, or threatened use of

  physical force against a person for every charge brought under the statute.”

  Estrella, 758 F.3d at 1244 (citation omitted). “Whether, in fact, the person suffering



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  under this particular conviction actually used, attempted to use, or threatened to

  use physical force against a person is quite irrelevant. Instead, the categorical

  approach focuses on whether in every case a conviction under the statute necessarily

  involves proof of the element.” Id. (citations omitted; emphasis added).

        To implement the categorical approach, the Supreme Court has “recognized a

  narrow range of cases in which sentencing courts” may look beyond the statute and

  judgment of conviction and employ what it is referred to as the “modified categorical

  approach.” Descamps, 133 S. Ct. at 2283–84. Those cases arise where the statute of

  conviction contains alternative elements, some constituting a violent felony and

  some not. In that scenario, “the statute is ‘divisible,’” in that it “comprises multiple,

  alternative versions of the crime.” Id. at 2284. As a result, “a later sentencing court

  cannot tell, without reviewing something more [than the statute and judgment of

  conviction], if the defendant’s conviction” qualifies as violent felony. Id.

        Two key points must be made about the modified categorical approach. First,

  Descamps made clear that “the modified categorical approach can be applied only

  when dealing with a divisible statute.” Howard, 742 F.3d at 1344. Thus, where the

  statute of conviction “does not concern any list of alternative elements” that must be

  found by a jury, there is no ambiguity requiring clarification, and therefore the

  “modified approach . . . has no role to play.” Descamps, 133 S. Ct. at 2285–86; see

  Estrella, 758 F.3d at 1245–46; Howard, 742 F.3d at 1345–46. “[I]f the modified

  categorical approach is inapplicable,” then the court must limit its review to the

  statute and judgment of conviction. Howard, 742 F.3d at 1345. And, even if a



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  statute is divisible, the court need not employ the modified categorical approach if

  none of the alternatives would qualify. Id. at 1346–47.

        Second, even where the modified categorical approach does apply, it does not

  permit courts to consider the defendant’s underlying conduct. Rather, “the modified

  approach merely helps implement the categorical approach when a defendant was

  convicted of violating a divisible statute. The modified approach thus acts not as an

  exception, but instead as a tool. It retains the categorical approach’s central feature:

  a focus on the elements, rather than the facts, of a crime.” Descamps, 133 S. Ct. at

  2285. And, in order to ensure that the focus remains on the statutory elements

  rather than the defendant’s underlying conduct, the court is restricted in what

  documents it may consider.

        In Shepard v. United States, 544 U.S. 13, 15 (2005), the Supreme Court held

  that courts are “limited to examining the statutory definition, charging document,

  written plea agreement, transcript of plea colloquy, and any explicit factual finding

  by the trial judge to which the defendant assented.” What these Shepard documents

  have in common is that they are “conclusive records made or used in adjudicating

  guilt.” Id. at 21; see id. at 23 (“confin[ing]” the class of permissible documents “to

  records of the convicting court approaching the certainty of the record of

  conviction”). That accords with their function in the modified categorical approach—

  namely, to permit the court to identify the elements for which the defendant was

  convicted. Descamps, 133 S. Ct. at 2284.




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        Importantly, and as the Supreme Court explained in Descamps, that

  inexorable focus on the elements derives in large part from “the categorical

  approach’s Sixth Amendment underpinnings.” Id. at 2287–88. Other than the fact of

  a prior conviction, a jury must find beyond a reasonable doubt any fact that

  increases a defendant’s sentence beyond the prescribed statutory maximum. Id. at

  2288 (citing Apprendi v. New Jersey, 530 U.S. 466, 490 (2000)). The reason for the

  “prior conviction” exception is that, during the earlier criminal proceeding, the

  defendant either had a jury or waived his constitutional right to one. See Apprendi,

  530 U.S. at 488.

        As the Supreme Court made clear in Descamps, the use of Shepard

  documents “merely assists the sentencing court in identifying the defendant’s crime

  of conviction, as we have held the Sixth Amendment permits.” 133 S. Ct. at 2288.

  This is so because “the only facts the court can be sure the jury . . . found [beyond a

  reasonable doubt] are those constituting elements of the offense;” and, similarly,

  “when a defendant pleads guilty to a crime, he waives his right to a jury

  determination of only that offense’s elements.” Id. But where a court relies on non-

  Shepard documents to increase a defendant’s sentence, it “extend[s] judicial

  factfinding” “beyond merely identifying a prior conviction,” violating the Sixth

  Amendment. Id.

        In sum, in determining whether a conviction qualifies as a “crime of violence,”

  a court must generally consider only the statute and judgment of conviction. Only if

  the statute is divisible may the court consider Shepard documents, and it may do so



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  only for the sole purpose of ascertaining the statutory elements for which the

  defendant was convicted. Once those elements are identified, the court must

  determine whether the least of the acts prohibited necessarily requires the use,

  attempted use, or threatened use of violent, physical force against another. In no

  case may a court rely on non-Shepard documents or analyze whether the

  defendant’s underlying conduct constituted a “crime of violence.”

  V.    In light of Johnson, Paul Vernon’s Conviction Under 18 U.S.C. §
        924(c) Cannot Be Sustained Because It Was Not Predicated on a
        “Crime of Violence” Under Either the Elements Clause or Residual
        Clause

        Paul Vernon was convicted of a violation of 18 U.S.C. § 924(c) in Count 2.

  At the time of conviction, § 924(c)(1) provided:

        Whoever, during and in relation to any crime of violence . . . uses or
        carries a firearm, or who, in furtherance of any such crime, possesses
        a firearm, shall, in addition to the punishment provided for such crime
        of violence . . .[be sentenced to imprisonment of not less than five
        years] [if the firearm is brandished, be sentenced to a term of
        imprisonment of not less than seven years] [if the firearm is
        discharged, be sentenced to a term of imprisonment of not less than
        ten years] . . . In the case of his second or subsequent conviction under
        this subsection, such person shall be sentenced to imprisonment for
        twenty five years . . .

  The term “crime of violence” as used therein was (and still is) defined in

  §924(c)(3) to mean an offense that is a felony and –

        (A) has as an element the use, attempted use, or threatened use of
        physical force against the person or property of another, or




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        (B) that by its nature, involves a substantial risk that physical force
        against the person or property of another may be used in the course of
        committing the offense.

        For the reasons detailed below, Paul Vernon’s § 924(c) conviction for using or

  carrying a firearm in relation to/possessing a firearm in furtherance of a “crime of

  violence” is void because the “crime of violence” element cannot be satisfied here.

  The predicate offense of bank robbery does not qualify as a “crime of violence” as a

  matter of law because (A) the residual clause in §924(c)(3)(B) is unconstitutionally

  vague in light of Johnson, and (B) Paul Vernon’s conviction for bank robbery is

  categorically overbroad vis-à-vis an offense within §924(c)(3)(A)’s elements.

  Therefore, the “crime of violence” element of § 924(c) cannot be sustained, and it is

  now clear that Paul Vernon’s conviction and consecutive sentence were

  unconstitutional and must be vacated. Paul Vernon is actually innocent of Count 2

  at this time.

  A.    Section 924(c)’s Residual Clause is Unconstitutionally Vague in Light
        of Johnson

         Johnson held the residual clause in the ACCA, 18 U.S.C. § 924(e)(2)(B)(ii)

  (“otherwise involves conduct that presents a serious risk of physical injury to

  another”), to be unconstitutionally vague because the “indeterminacy of the wide-

  ranging inquiry required by the residual clause both denies fair notice to defendants

  and invites arbitrary enforcement by Judges.” 135 S. Ct. at 2557. In the Supreme

  Court’s view, the process espoused by James v. United States, 550 U.S. 192 (2007),

  of determining what is embodied in the “ordinary case” of an offense, and then of

  quantifying the “risk” posed by that ordinary case, was constitutionally problematic:

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  “[t]he residual clause offers no reliable way to choose between . . . competing

  accounts of what ‘ordinary’ . . . involves.”    Id. at 2558.    As a result, “[g]rave

  uncertainty” as to how to determine the risk posed by the “judicially imagined

  ordinary case” led the Court to conclude that the residual clause was void for

  vagueness. Id. at 2557.

        The same “ordinary case” inquiry that in Johnson led the Supreme Court to

  conclude that the ACCA residual clause is unconstitutionally was previously

  applied to § 924(c)(3). United States v. McGuire, 706 F.3d 1333, 1337 (11th Cir.

  2013). That is, like the ACCA, the residual clause of § 924(c)(3)(B) requires courts

  to picture the “ordinary” case embodied by a felony, and then assess the risk posed

  by that “ordinary” case. See id.

        Notably, the definition of “crime of violence” in the residual clause in § 924(c)

  is identical to that in 18 U.S.C. § 16(b). Compare § 924(c)(3)(B) (offense “that by its

  nature, involves a substantial risk that physical force against the person or

  property of another may be used in the course of committing the offense”) with

  § 16(b) (offense “that, by its nature, involves a substantial risk that physical force

  against the person or property of another may be used on the course of committing

  the offense”).

        The Eleventh Circuit has previously held that the same “ordinary risk”

  analysis applied in ACCA cases and § 924(c)(3) (the residual clause at issue in Paul

  Vernon’s case), also applied in the § 16(b) context. See United States v. Keelan, 786




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  F.3d 865, 871 n.7(11th Cir. 2015) (describing the ACCA otherwise clause and § 16(b)

  as “analogous” for analysis purposes).

        This is consistent with the concession made during litigation of the Johnson

  case by the Government, through the Solicitor General, who agreed that the

  phrases at issue in Johnson and here pose the same problem. Upon recognizing

  that the definitions of a “crime of violence” in both § 924(c)(3)(B) and § 16(b) are

  identical, the Solicitor General stated:


        Although Section 16 refers to the risk that force will be used rather
        than that injury will occur, it is equally susceptible to petitioner’s
        central objection to the residual clause: Like the ACCA, Section 16
        requires a court to identify the ordinary case of the commission of the
        offense and to make a commonsense judgment about the risk of
        confrontations and other violent encounters.

  Johnson v. United States, S. Ct. No. 13-7120, Supp. Br. of Resp. United States at 22-

  23, available at 2015 WL 1284964 at *22-*23) (Mar. 30, 2015).

        The Solicitor General was right: section 924(c)(3)(B) and § 924(e)(2)(B)(ii) the

  ACCA are essentially the same and contain the same flaws. This Court should hold

  the Government to that concession.

        Indeed, courts regularly equate these three clauses—18 U.S.C. § 924(c)(3)(B),

  18 U.S.C. § 16(b), and the ACCA residual clause—for purposes of analysis. See, e.g.,

  Chambers v. United States, 555 U.S. 122, 133, n.2 (2009) (citing both ACCA and §

  16(b) cases and noting that § 16(b) “closely resembles ACCA’s residual clause”)

  (Alito, J., concurring); United States v. Sanchez-Espinal, 762 F.3d 425, 432 (5th Cir.

  2014) (despite the fact that the ACCA talks of risk of injury and § 16(b) talks of risk

  of force, “we have previously looked to the ACCA in deciding whether offenses are

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  crimes of violence under § 16(b)”); Roberts v. Holder, 745 F.3d 928, 930-31 (8th Cir.

  2014) (using both ACCA cases and § 16(b) cases to define the same “ordinary case”

  analysis); United States v. Ayala, 601 F.3d 256, 267 (4th Cir. 2010) (relying on an

  ACCA case to interpret the definition of a crime of violence under § 924(c)(3)(B));

  Jimenez-Gonzales v. Mukasey, 548 F.3d 557, 562 (7th Cir. 2008) (noting that,

  “[d]espite the slightly different definitions,” the Supreme Court’s respective

  analyses of the ACCA and § 16(b) “perfectly mirrored” each other).


        Post-Johnson, three circuits have extended the reasoning in Johnson and

  concluded that the statutory language and ordinary risk analysis applicable to §

  16(b) is sufficiently similar to that applicable to the ACCA’s residual clause that it

  suffers from the same defects of being unconstitutionally vague. See United States

  v. Gonzalez-Longoria, 813 F.3d 225 (5th Cir. 2016); United States v. Vivas-Ceja, 808

  F.3d 719, 720 (7th Cir. 2015) (“Section 16(b) is materially indistinguishable from the

  ACCA’s residual clause” and “it too is unconstitutionally vague”). And that logically

  suggests that the same must also be true of § 924(c)(2)(B)—with language

  identical to § 16(b), and to which the same “ordinary risk” analysis applies.


        Notably, in explicit recognition of the “similarity between § 924(c) and §

  924(e),” the Eleventh Circuit – like several of its sister courts – has authorized the

  filing of a second or successive § 2255 motion asserting that Johnson renders §

  924(c)(3)(B) unconstitutionally vague. In re Pinder, ___ F.3d ___, 2016 WL 3081954

  (11th Cir. June 1, 2016) (citing cases) And indeed, several district courts have

  already found that the § 924(c) residual clause is unconstitutionally vague after

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  Johnson. See United States v. Thongsouk Theng Lattaphom, ___ F.Supp.3d ___,

  2016 WL 393545 (E.D. Cal. Feb. 2, 2016); United States v. Bell, ___ F.Supp.3d ___,

  2016 WL 344749 (N.D. Ca. Jan. 28, 2016) (“I agree with defendants that the section

  924(c)(3) residual clause cannot stand under Johnson II.”); United States v.

  Edmunson, Case No. 13-cr-00015-PWG, D.E. 67 at 11 (D. Md. Dec. 29, 2015)

  (finding that the 924(c) residual clause is unconstitutionally vague in context where

  Bank robbery Conspiracy was the qualifying “crime of violence”); United States v.

  Lattanaphom, Case No. 2:99-00433, D.E. 1659, (E.D. Cal. Feb. 1, 2016) (dismissing

  Bank robbery Conspiracy counts charged as crimes of violence under the residual

  clause of 924(c) because that clause is unconstitutionally vague); United States v.

  Bell, ___ F. Supp. 3d ___, 2016 WL 344749, *13 (N.D. Cal. Jan. 28, 2016) (finding

  that the 924(c) residual clause is unconstitutionally vague and may not be used to

  establish that robbery of government property under 18 U.S.C. 2112 is a crime of

  violence). This is because, in determining whether an offense falls under § 924(c)’s

  residual clause, a court would have to engage in the very analysis deemed

  constitutionally problematic by the Supreme Court in Johnson.


        Section 924(c)(3)(B), like the materially indistinguishable residual clause in

  the ACCA, thus requires the “ordinary case” analysis to assess the risk involved in a

  predicate offense, and how risky that ordinary case is. Fuertes, 805 F.3d at 500 n.6;

  Avila, 770 F.3d at 1107; Ayala, 601 F.3d at 267; Van Don Nguyen, 571 F.3d at 530;

  Sanchez-Garcia, 501 F.3d at 1213. Because these are the identical analytical steps

  that brought down the ACCA residual clause, § 924(c)(3)(B) cannot survive


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  constitutional scrutiny under the due process principles reaffirmed in Johnson. As

  a consequence, the residual clause cannot be used to support a conviction under §

  924(c).


  B.    Bank Robbery Categorically Fails to Qualify as a “Crime of Violence”
        Under the Elements Clause

  I.   UNARMED BANK ROBBERY

  Bank Robbery Categorically Fails to Qualify as a “Crime of Violence”
  Under the Elements Clause

        A. Pertinent Statute
        Federal bank robbery, 18 U.S.C. § 2113, in pertinent part, provides:

        (a) Whoever, by force and violence, or by intimidation, takes, or
        attempts to take, from the person or presence of another, or obtains or
        attempts to obtain by extortion any property or money or any other
        thing of value belonging to, or in the care, custody, management, or
        possession of, any bank, credit union, or any savings and loan
        association [shall be punished in accordance with the remainder of the
        statute]
        B. Federal Bank Robbery Under § 18 U.S.C. 2113(a) Fails to
           Constitute a “Crime of Violence” Because It Can Be Accomplished
           Merely by Intimidation, Which Does Not Require (A) An
           Intentional Threat of (B) Violent Physical Force

        Federal bank robbery, as defined by 18 U.S.C. § 2113(a) fails to qualify as a

  “crime of violence” be accomplished by “intimidation” or by “extortion” which do not

  require the use, attempted use, or threatened use of “violent force.” Additionally,

  because “intimidation” and “extortion” under the federal bank robbery statute can

  be accomplished without an intentional threat of physical force, it fails to satisfy the

  intentional mens rea required under the elements clause.




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               1. Intimidation Does Not Equal the Use, Attempted Use, or
                  Threatened Use of “Violent Force”

        It is well settled that “intimidation” under the federal bank robbery statute

  only occurs when “an ordinary person in the [victim’s position] reasonably could

  infer a threat of bodily harm from the defendant’s acts.” United States v. Kelley,

  412 F.3d 1240, 1244 (11th Cir. 2005) (emphasis added); see also United States v.

  Pickar, 616 F.3d 821, 825 (8th Cir. 2010) (same); United States v. Woodrop, 86 F.3d

  359, 364 (4th Cir. 1996) (same); United States v. Higdon, 832 F.3d 312, 315 (5th Cir.

  1987) (same). Applying this intimidation definition here, even assuming that the

  act of placing another in fear of bodily harm constitutes a threat of physical injury,

  it still fails to qualify as a “crime of violence” under the elements clause because it

  does not require the use or threatened use of “violent force” against another. The

  Fourth Circuit’s decision in Torres-Miguel, 701 F.3d 165, 168-69 (4th Cir. 2012), is

  directly on point. Indeed, in that case, the Fourth Circuit unequivocally held that

  the threat of any physical injury, even “serious bodily injury or death,” does not

  necessarily require the use of physical force – let alone “violent force.”

        In Torres-Miguel, at issue was the defendant’s prior conviction for the

  California offense of willfully threatening to commit a crime which “will result in

  death or great bodily injury to another.” 701 F.3d at 168 (citing Cal. Penal Code §

  422(a)) (emphasis added). The specific question in the case was whether the statute

  had an element equating to a threat of “violent force” under the elements clause of

  U.S.S.G. § 2L1.2 – a clause that is identical in all relevant respects to the §

  924(c)(3)(A) elements    clause.   Id.   Despite the “death or great bodily injury”

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  element in the California statute, the Fourth Circuit found that the offense was

  missing a “violent force” element, and thus, could never qualify as a “crime of

  violence” under the elements clause.      Id. at 168-69.   In a blanket manner, the

  Fourth Circuit held that “[a]n offense that results in physical injury, but does not

  involve the use or threatened use of force, simply does not meet the Guidelines

  definition of crime of violence.” Id. at 168. The Fourth Circuit, in strong words,

  proclaimed that “of course, a crime may result in death or serious injury without

  involving use of physical force.” Id. (emphasis added).

        The Fourth Circuit, relying on several appellate decisions from various

  Circuits, reasoned that there are many ways in which physical injury – even death

  – can result without use of “violent force.” Id. at 168-69. “For example, as the Fifth

  Circuit has noted, a defendant can violate statutes like § 422(a) by threatening to

  poison another, which involves no use or threatened use of force.” Torres-Miguel,

  701 F.3d at 168-69 (citing United States v. Cruz-Rodriguez, 625 F.3d 274, 276 (5th

  Cir. 2010)).

        In reaching its decision, the Torres-Miguel Court also relied on the Second

  Circuit’s decision in Chrzanoski v. Ashcroft, 327 F.3d 188, 194 (2d Cir. 2003). In

  that case, at issue was whether a prior Connecticut conviction for third degree

  assault qualified as a “crime of violence” under the elements clause.               The

  Connecticut statute “require[s] the state to prove that the defendant had

  intentionally caused physical injury.” Chrzanoski, 327 F.3d at 193. Nonetheless,

  the “Second Circuit [] held that [the statute] does not constitute a crime of violence .



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  . . because there is a difference between causation of an injury, which is all that the

  Connecticut statute [] required, and an injury’s causation by the use of physical

  force.” Torres-Miguel, 701 F.3d at 169 (citing Chrzanoski, 327 F.3d at 194) (internal

  quotation marks omitted).

        The Second Circuit explained that “an individual could be convicted of

  intentional assault in the third degree for injury caused not by physical force, but by

  guile, deception, or even deliberate omission.”        327 F.3d at 195.      The Court

  elaborated that “human experience suggests numerous examples of intentionally

  causing physical injury without the use of force, such as a doctor who deliberately

  withholds vital medicine from a sick patient” or someone who causes physical

  impairment by placing a tranquilizer in the victim’s drink. Id. at 195-56.

        For even further support, in Torres-Miguel, 701 F.3d at 169, the Fourth

  Circuit embraced the Tenth Circuit’s decision in United States v. Perez-Vargas, 414

  F.3d 1282, 1287 (10th Cir. 2005). In that case, the Tenth Circuit “explained that

  although the Colorado [third degree assault] statute required [an act causing]

  bodily injury [by means of a deadly weapon], imposing that injury does not

  necessarily include the use or threatened use of physical force as required by the

  Guidelines and so the Colorado crime was not categorically a crime of violence

  under U.S.S.G. § 2L1.2.” Torres-Miguel, 701 F.3d at 169 (citing Perez-Vargas, 414

  F.3d at 1287) (internal quotation marks omitted). The Tenth Circuit reasoned that

  “several examples [exist] of third degree assault that would not use or threaten the

  use of physical force: . . . intentionally placing a barrier in front of a car causing an



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  accident, or intentionally exposing someone to hazardous chemicals.” Perez-Vargas,

  414 F.3d at 1286.

        Therefore, Torres-Miguel and all the other cases discussed above demonstrate

  that federal bank robbery, which can be accomplished by putting another in fear of

  bodily harm, does not require “violent force.” If threat of serious bodily injury or

  death does not equal violent force, then certainly, threat of “bodily harm” does not.

  Indeed, a defendant can place another in fear of bodily harm by threatening to

  poison that person, to release hazardous chemicals on that person, or to lock that

  person up in a room without food or water – some of the very examples that the

  Fourth Circuit in Torres-Miguel as well as the other Courts mentioned above held

  do not constitute “violent force.”

        Finally, the plain language of the federal bank robbery statute provides that

  it be committed not only by intimidation, but also by extortionate means, which

  merely requires the threat of economic harm. See § 2113(a) (“Whoever, by force and

  violence, or by intimidation takes, or attempts to take, from the person or presence

  of another, or obtains or attempts to obtain by extortion . . .”). ” And it is well

  settled that extortion can be committed by putting the victim in “[f]ear of economic

  harm.” United States v. Vallejo, 297 F.3d 1154, 1165 (11th Cir. 2002). No threat of

  any physical force is required. Id.; see also United States v. Hairston, 46 F.3d 361,

  365 (4th Cir. 1995) (“[t[o] prove extortion by fear of economic harm, the government

  must establish that the threat of such harm generated fear in the victim”); United

  States v. Lisinski, 728 F.2d 887, 892 (7th Cir. 1984) (“The wrongful use of fear is



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  satisfied if the extortioner exploits the victim’s fear of economic loss, as did [the

  defendant] in this case”); United States v. Cusamano, 659 F.2d 714, 715 (6th Cir.

  1981) (“it is well settled that fear of economic loss is sufficient to support a

  conviction” for extortion); Sand and Siffert, 3-50 Modern Federal Jury Instructions-

  Criminal § 50-12 (to sustain conviction for extortion, “[t]he use or threat of violence

  does not have to be directed at the person whose property is taken. The use of

  threat of force or violence might be aimed at a third person, or at causing economic

  rather than physical injury.”) (emphasis added).

         Thus, bank robbery can be accomplished, for example, by a phone caller who

  threatens to malign the reputation of a bank or vandalize the bank if the banker

  does not deposit money into the caller’s account. See United States v. Golay, 560

  F.2d 866, 869 n.2 (8th Cir. 1977) (“money deposited at the direction of a phone caller

  making extortionate type threats” satisfies federal bank robbery elements ) (citation

  omitted).   It goes without saying that such conduct does not require the use,

  attempted use, or threat of violent physical force, let alone any physical force

  against a person necessary to qualify as a “crime of violence” under the elements

  clause of § 924(c).

         Because “the full range of conduct” covered by the bank robbery statute does

  not require “violent force,” it simply cannot qualify as a “crime of violence” under §

  924(c)(3)’s elements clause. Torres-Miguel, 701 F.3d at 171. And it makes no

  difference that the possibility of violating the bank robbery statute without the use

  or threat of violent physical force may be slim. Because the possibility exists, this



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  Court cannot legally find that bank robbery is a “crime of violence.” Indeed, in

  Torres-Miguel, the Court did not cite to a single case in which an offense under the

  California threat statute was violated with the threat of poisoning or some other

  non-violent force; yet, the Fourth Circuit still found that because the elements of

  the offense left open the possibility that one could be prosecuted under the statute

  for the use of non-violent force, the prior offense categorically failed to qualify as a

  “crime of violence.” Id. at 171. The Court should find the same here with respect to

  the federal bank robbery statute, which leaves open the same possibility.

               2. Intimidation Does Not Require An Intentional Threat of
                  Violent Physical Force Necessary Under § 924(c)’s Elements
                  Clause

        Even more, “intimidation” as defined under the bank robbery statute does not

  constitute a “crime of violence” under the Elements Clause because it does not

  require an intentional threat of physical force. As the Eleventh Circuit explained in

  Kelley, “a defendant can be convicted under section 2113(a) even if he did not intend

  for an act to be intimidating.” 412 F.3d at 1244. See also Garcia v. Gonzales, 455

  F.3d 465, 468 (4th Cir. 2006) (holding that an offense can only constitute a “crime of

  violence” under the elements clause if it has an element that requires an

  “intentional employment of physical force [or threat of physical force].”). Accord

  United States v. Dixon, __F.3d__, 2015 WL 7422615, at *4 (9th Cir. 2015) (holding

  California bank robbery does not constitute “crime of violence” under the ACCA

  elements clause because the offense does not require intentional use of force).




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        Significantly, the Eleventh Circuit—and all other Circuits have held the

  same—many of them relying on the Fourth Circuit’s holding in Garcia. See United

  States v. Palomino Garcia, 606 F.3d 1317, 1335-36 (11th Cir. 2010) (citing Garcia

  and Bejarano-Urrutia); Jimenez-Gonzalez v. Mukasey, 548 F.3d 557, 560 (7th Cir.

  2008); United States v. Zuniga-Soto, 527 F.3d 1110, 1124 (10th Cir. 2008) (citing

  Bejarano-Urrutia); United States v. Torres-Villalobos, 487 F.3d 607, 615-16 (8th Cir.

  2007) (citing Bejarano-Urrutia); United States v. Portela, 469 F.3d 496, 499 (6th Cir.

  2006) (citing Garcia and Bejarano-Urrutia); Fernandez-Ruiz v. Gonzales, 466 F.3d

  1121, 1127-32 (9th Cir. 2006) (en banc) (citing Bejarano-Urrutia); Oyebanji v.

  Gonzales, 418 F.3d 260, 263-65 (3d Cir. 2005) (citing Bejarano-Urrutia); Jobson v.

  Ashcroft, 326 F.3d 367, 373 (2d Cir. 2003); United States v. Chapa-Garza, 243 F.3d

  921, 926 (5th Cir. 2001).

        It is well settled that the “intimidation” element of federal bank robbery is

  missing this necessary intentional mens rea. “Whether a particular act constitutes

  intimidation is viewed objectively, . . . and a defendant can be convicted under

  [federal bank robbery] even if he did not intend for an act to be intimidating.”

  United States v. Kelley, 412 F.3d 1240, 1244 (11th Cir. 2005). See also Woodrup, 86

  F.3d at 36 (“Intimidation” is satisfied under the bank robbery statute “whether or

  not the defendant actually intended the intimidation” as long as “an ordinary

  person in the [victim’s] position reasonably could infer a threat of bodily harm from

  the defendant’s acts.”); United States v. Yockel, 320 F.3d 818, 821 (8th Cir. 2003)

  (upholding bank robbery conviction even though there was no evidence that



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  defendant intended to put teller in fear of injury: defendant did not make any sort of

  physical movement toward the teller and never presented her with a note

  demanding money, never displayed a weapon of any sort, never claimed to have a

  weapon, and by all accounts, did not appear to possess a weapon); United States v.

  Foppe, 993 F.2d 1444, 1451 (9th Cir. 1993) (same). In other words, a defendant may

  be found guilty of federal bank robbery even though he did not intend to put

  another in fear of injury. It is enough that the victim reasonably fears injury from

  the defendant’s actions – whether or not the defendant actually intended to create

  that fear. Due to the lack of this intent, unarmed federal bank robbery criminalizes

  conduct that does not require an intentional threat of physical force. Therefore,

  unarmed bank robbery squarely fails to qualify as a “crime of violence.”

        The Court should vacate Paul Vernon’s sentence on Count 2, the 924(c) count,

  because the predicate Bank robbery offenses, as defined by 18 U.S.C. § 2113(b), do

  not qualify as a “crime of violence” as a matter of law.

        For the reasons set forth above, bank robbery fails to qualify as a “crime of

  violence” under § 924(c)’s elements clause because it may be committed by putting

  one in fear of future injury to his person or property, which (1) does not require the

  threat of violent physical force against persons or property, and (2) does not require

  an intentional threat of the same. Bank robbery fails to qualify as a “crime of

  violence” under § 924(c)’s Residual Clause, post-Johnson, because it suffers from the

  same constitutional infirmity of being void for vagueness.




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         Accordingly, Paul Vernon respectfully asks this Court to grant this § 2255

   motion and re-sentence him without the § 924(c) count 2.

 II.   ARMED BANK ROBBERY

             A. Section 2113(d), Which Requires Nothing More Than Openly
                Carrying A Dangerous Weapon, Does Not Convert Federal
                Bank Robbery into a “Crime of Violence”

         To prove the more serious offense of armed bank robbery under 18 U.S.C. §

   2113(d), the government must establish that during the commission of the bank

   robbery, the defendant “either assaulted another person by the use of a dangerous

   weapon or device, or the defendant put another person’s life in jeopardy by the use

   of a dangerous weapon or device.” See Modern Federal Jury Instructions, 53-14.

   “Use of a dangerous weapon” means “brandishing, displaying or even referring to

   the weapon.” Id. The government may prove either that the defendant assaulted

   another person by the use of a dangerous weapon or device, or that he put another

   person’s life in jeopardy by the use of a dangerous weapon or device; it need not

   prove both. Id. Neither of these means under § 2113(d) converts a bank robbery

   into a “crime of violence” under the elements clause of § 924(c)(3)(A). Specifically,

   assaulting another person by the use of a dangerous weapon does not require the

   threat or use of violent physical force. And putting another person’s life in jeopardy

   by the use of a dangerous weapon or device does not require an 1) the intentional

   threat 2) of violent physical force.




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                    1.    Assaulting Another Person By the Use of a Dangerous
                          Weapon or Device Does Not Require the Threat or Use
                          of Violent Physical Force

           To begin with, Torres-Miguel dictates that the act of assaulting another

  person by the use of a dangerous weapon or device does not require the use or

  threat of violent physical force. Such act can be accomplished by “inflict[ing] or

  attempt[ing] to threaten to inflict physical harm on [a] person by the immediate use

  of a dangerous weapon.”       Modern Federal Jury Instructions, 53-14 (emphasis

  added). “Dangerous weapon,” in turn, is broadly defined as “anything capable of

  inflicting serious bodily harm or injury upon another person.” Id. (emphasis added).

  However, in Torres- Miguel, the Fourth Circuit squarely held that threatening or

  actually inflicting physical injury, serious physical injury, or even death can be

  accomplished by actions without the use or threat of violent physical force;

  therefore, the “physical harm” and “serious bodily harm or injury” requirements of

  § 2113(d) likewise can be satisfied without the use or threat of violent physical

  force.

            To be sure, under the above-referenced terms of assault with a dangerous

  weapon, it is plain that one can be convicted of armed bank robbery under § 2113(d)

  by threatening to poison or expose the teller to a hazardous gas – exactly the type of

  conduct that Torres-Miguel held does not equal violent physical force.        Torres-

  Miguel, 701 F.3d at 168-69 (citing United States v. Cruz-Rodriguez, 625 F.3d 274,

  276 (5th Cir. 2010)). Further, the Tenth Circuit’s decision in Perez-Vargas, 414 F.3d

  at 1285-86, is directly on point. As earlier referenced, in Perez-Vargas, the Tenth



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  Circuit held that a Colorado assault statute which criminalized knowingly

  “caus[ing] bodily injury to another person by the means of a deadly weapon” did not

  qualify as a “crime of violence” under the elements clause. Id. The Tenth Circuit

  explained that because the offense could be accomplished by actions such as

  “intentionally exposing someone to hazardous chemicals,” it did not require physical

  force. Id. at 1286. For this same reason, armed bank robbery under § 2113(d) is

  also not a “crime of violence” under the elements clause.

                  2.     Putting Another Person’s Life in Jeopardy By the Use
                         of a Dangerous Weapon Does Not Require (1) An
                         Intentional Threat of (2) Violent Physical Force

        The final reason why armed bank robbery under § 2113(d) fails to qualify as a

  “crime of violence” is because putting another person’s life in jeopardy can be

  accomplished without 1) an intentional threat 2) of violent physical force. “To put

  another’s life in jeopardy is to expose that person to a risk of death by the use of a

  dangerous weapon or device.”     See Modern Federal Jury Instructions, 53-14.      In

  other words, this means the “defendant placed someone in a state of danger” by

  “display[ing] or bradish[ing] what appears to a be a dangerous weapon during the

  robbery.” Id.

                            a. No Threat of Violent Physical Force Required

        Under the above-described terms of § 2113(d), a defendant can put another in

  danger through the use or threatened use of poison or hazardous chemicals – the

  exact conduct that the Fourth Circuit in Torres-Miguel, 701 F.3d at 168, and the

  Tenth Circuit in Perez-Vargas, 414 F.3d at 1286, concluded does not constitute



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  violent physical force. Moreover, that this conduct could threaten someone’s life

  does not change the result. Indeed, in Torres-Miguel, the California statute at issue

  criminalized a threat of death, yet, the Fourth Circuit found that because actual

  death or threat of death could be accomplished absent violent physical force, the

  California statute failed to qualify as a “crime of violence” under the elements

  clause. 701 F.3d at 168 (“Of course, a crime may result in death or serious injury,

  without involving use of physical force.”). This Court should find the same here.

                            b. No Intentional Threat Required

        Even more, a defendant can place someone’s life in jeopardy under § 2113(d)

  without any intent to threaten or use violent physical force. Indeed, a defendant

  can violate this provision merely by carrying a gun during the bank robbery because

  “he feels secure with it,” even though he has no intent to intimidate another.

  United States v. Martinez-Jimenez, 864 F.2d 664, 667 (9th Cir. 1989) No nexus is

  required between the weapon and the intimidation required under § 2113(a). He

  “need not brandish” the weapon “in a threatening manner” or “make assaultive use

  of the device.” Id.; see also United States v. Bennett, 675 F.2d 596, 599 (4th Cir.

  1982) (“A weapon openly exhibited by a robber during a robbery” without more is

  sufficient to constitute a violation under § 2113(d)).    Therefore, armed robbery

  under § 2113(d) fails to satisfy the intentional mens rea requirement of Garcia, 455

  F.3d at 468. For this reason and all the other reasons discussed above, a federal

  bank robbery under §§ 2113(a) and (d) fails to qualify as a “crime of violence” under

  the § 924(c) elements clause.



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        If Paul Vernon’s § 924(c) conviction on Count 2 is vacated, the Court must

  also: (1) vacate the 84 - month consecutive sentence imposed on Count 2, as that

  sentence was mandated by the § 924(c) conviction, see 18 U.S.C. § 924(c)(1)(A), and

  (2) modify the term of supervised release, given that as to the remaining counts,

  Counts 1, 3, 4, 6, the Court may only impose a term of supervised release of up to

  three years. See 18 U.S.C. § 3583(a), (b)(2).




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                                    CONCLUSION

        For the reasons set forth above, the residual clause in 18 U.S.C. § 924(c)(3)(B)

  is void for vagueness in light of Johnson, and a bank robbery in violation of 18

  U.S.C. § 2113(a) and (d) does not qualify as a “crime of violence” under §

  924(c)(3)(A). Paul Vernon therefore respectfully requests that the Court grant this §

  2255 motion, vacate his conviction pursuant to 18 U.S.C. § 924(c) and resultant 84 -

  month consecutive sentence, and modify his term of supervised release to a term of

  less than three years.


        And because Paul Vernon has served in excess of what the statutory

  maximum would be without the § 924(c) counts and is currently serving an illegal

  sentence, he respectfully requests that the Court expedite this matter, order his

  immediate release from custody, or at minimum, grant him an immediate,

  unsecured bond.


                                  Respectfully Submitted,

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                            CERTIFICATE OF SERVICE

         I HEREBY certify that on June 24, 2016, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.


                                         /s/Daniel Ecarius




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